UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
UNTIED STATES OF AMERICA,
Plaintiff,
v. CASE NO.: 6:20-CR-97-Orl-3 1 LRH
JOEL MICAH GREENBERG,
Defendant.
/

WAIVER OF DEFENDANT’S PRESENCE AT
ARRAIGNMENT AND PLEA OF NOT GUILTY

I, JOEL MICAH GREENBERG, the above named defendant, do hereby waive my right
to be present at Arrgiznment and enter a plea of not guilty to the charges. I hereby state that |
have received a copy of the charging instrument and have reviewed it with my counsel.

AM
Signature of defen ants attorney Defendént 's sig ature

Date: “lf Adon Date:_4-1-2o2.

Fritz Scheller, Bar No. 183113

Printed name and bar number of defendant's attorney

 

200 East Robinson St., Orlando, FL 32801
Address of defendant’s attorney

407-792-1285
Telephone number of defendant’s attorney

CONSENT TO WAIVER OF DEFENDANT’S PRESENCE AT ARRAIGNMENT AND
RECEIPT OF PLEA OF NOT GUILTY

I hereby accept the Waiver of Defendant’s Presence at Arraignment and Entry of Not
Guilty Plea and direct that the plea of not guilty be received for filing.

~_ LESLIE R. HOFFMA _
UNITED STATES MAGISTRATE JUDGE

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